          Case 21-04079-elm Doc 8 Filed 04/05/22       Entered 04/05/22 13:28:19        Page 1 of 2




The following constitutes the ruling of the court and has the force and effect therein described.



Signed April 5, 2022
                                           United States Bankruptcy Judge
______________________________________________________________________



                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                       FORT WORTH DIVISION

     In re:                                          §
                                                     § Case No. 21-41656-ELM
     JAMES VARGA,                                    §
                                                     § Chapter 7
               Debtor.                               §
                                                     §
     MARY FROSTO, et al.,                            §
                                                     §
               Plaintiffs,                           §
     v.                                              § Adversary No. 21-04079
                                                     §
     JAMES VARGA, III,                               §
                                                     §
               Defendant.                            §

              ORDER (I) REQUIRING REPLEADING OF COMPLAINT AND GRANTING
               LEAVE FOR SAME, (II) SETTING DEADLINE AND REQUIREMENTS
                FOR ANSWER, AND (III) RESCHEDULING TRIAL DOCKET CALL

             On November 22, 2021, the Plaintiffs commenced this adversary proceeding with the filing
     of their Complaint to Determine Dischargeability of Debt [Docket No. 1] (the “Complaint”)
     against the Defendant. On January 19, 2022, the Defendant filed Defendant’s General Denial
     [Docket No. 5] (the “Answer”) in response to the Complaint.

            On April 4, 2022, in accordance with the Court’s Order Regarding Adversary Proceedings
     Trial Setting and Alternative Scheduling Order [Docket No. 3] (the “Scheduling Order”), the
     Court conducted a trial docket call hearing. The Plaintiffs appeared at the hearing by and through
     counsel. The Defendant failed to appear at the hearing.

                                                                                                 Page 1
    Case 21-04079-elm Doc 8 Filed 04/05/22                     Entered 04/05/22 13:28:19               Page 2 of 2




         Having reviewed and considered the Complaint, the Answer, and the docket in this
adversary proceeding, the Court finds it appropriate to require Plaintiffs to file an amended
complaint to adequately identify the specific causes of action asserted under each stated claim for
relief1 and to require the Defendant to file an answer to such amended complaint that complies
with the Federal Rules of Bankruptcy Procedure and Federal Rules of Civil Procedure.2 Because
of same, the Court also finds cause to reset the trial docket call hearing. Accordingly, it is hereby:

        ORDERED that, by no later than 21 days after the date of entry of this Order,
Plaintiffs shall file and serve on the Defendant (at the last known address of the Defendant with a
copy contemporaneously served on counsel of record for the Defendant in the underling
bankruptcy case, Case No. 21-41656) an amended complaint (the “Amended Complaint”) in
which the Plaintiffs specifically identify each cause of action that the Plaintiffs are asserting
against the Defendant under each stated claim for relief of the Amended Complaint. The Plaintiffs
are hereby granted leave under Fed. R. Bankr. P. 7015 and Fed. R. Civ. P. 15(a)(2) to so amend
the Complaint; it is further

       ORDERED that, by no later than 21 days after the date of service of the Amended
Complaint by Plaintiffs in accordance with this Order, Defendant shall file an answer or other
response to the Amended Complaint that complies with the Federal Rules of Bankruptcy Procedure
and Federal Rules of Civil Procedure; it is further

       ORDERED that the trial docket call in this adversary proceeding is reset to June 6, 2022,
at 1:30 p.m. (prevailing Central Time), and shall take place before the Honorable Edward L.
Morris, Eldon B. Mahon U.S. Courthouse, 501 W. Tenth Street, Room 204, Fort Worth, Texas
76102; it is further

       ORDERED that, in accordance with paragraph 7 of Part III of the Scheduling Order, all
deadlines set forth within paragraphs 1-5 of Part III of the Scheduling Order are hereby shifted to
the newly scheduled trial docket call hearing date set out above; and it is further

         ORDERED that counsel for the Plaintiffs promptly serve a copy of this Order on
Defendant (at the last known address of the Defendant with a copy contemporaneously served on
counsel of record for the Defendant in the underling bankruptcy case, Case No. 21-41656) and file
a certificate of service in this adversary proceeding to evidence same.

                                         # # # END OF ORDER # # #




1
 In this regard, the Court notes that while the existing Complaint is titled as a complaint “to determine dischargeability
of debt,” within the individual claims for relief set out within the Complaint, the Plaintiffs appear to request an award
of damages against the Debtor (or in the bankruptcy context, a request for the allowance of a claim against the
bankruptcy estate) under various unspecified legal theories, which is materially different than a request for a
determination of non-dischargeability.
2
 In this regard, substantively, the existing Answer consists of nothing more than a one sentence general denial. While
general denials are sufficient under applicable Texas state rules of procedure, they are insufficient under applicable
federal rules of civil procedure.

                                                                                                                  Page 2
